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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


HELEN YOUNGBLOOD,                               )         CASE NO. 4:17-cv-1744
                                                )
                                                )
                      PLAINTIFF,                )         JUDGE SARA LIOI
                                                )
vs.                                             )
                                                )         MEMORANDUM OPINION AND
                                                )         ORDER
BOARD OF COMMISSIONERS OF                       )
MAHONING COUNTY, OHIO, et al.,                  )
                                                )
                      DEFENDANTS.               )


       On August 18, 2017, plaintiff Helen Youngblood (“Youngblood”) filed the present action

in federal court, alleging that defendants have “made a series of promotional appointments

without prior posting” but instead “rely on cronyism and patronage.” (Doc. No. 1 (Complaint) ¶¶

1, 16, 18.) She seeks to certify this matter as a class action, and defines the proposed class as

“All persons eligible for employment advancement employed at the Mahoning County

Department of Jobs & Family Service on January 1, 2014 and thereafter.” (Id. ¶ 9; see Doc. No.

6 (Motion to Certify the Class [“Mot. Class Cert.”]).)

       Defendants have moved to dismiss the complaint, pursuant to Fed. R. Civ. P. 12(b)(6).

(Doc. No. 4 [“MTD”].) Youngblood subsequently moved for leave to amend her complaint,

instanter. (Doc. No. 7 [“Mot. Amend”]), and filed the proposed amended complaint on the

docket. (Doc. No. 8.) Defendants oppose the motion to amend. (Doc. No. 10 [“Mot. Amend

Opp’n”].) Youngblood also filed an opposition to defendants’ motion to dismiss. (Doc. No. 9

[“MTD Opp’n”].) In her opposition brief, Youngblood notes that her proposed amended
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complaint would supersede her original complaint and that, “[i]f the motion for leave to amend is

granted, as a necessary consequence, [d]efendants’ motion to dismiss the superseded complaint

is moot and must be denied.” (MTD Opp’n at 86, citations omitted.) Defendants, in turn, oppose

the motion to amend on grounds of futility. (Mot. Amend Opp’n at 89-90.)

       Under the Federal Rules of Civil Procedure, a party “may amend its pleading once as a

matter of course within 21 days after serving it, or if the pleading is one to which a responsive

pleading is required, 21 days after service of a responsive pleading or 21 days after service of a

motion under Rule 12(b), (e), or (f), whichever is earlier.” Fed. R. Civ. P. 15(a)(1). In this case,

Youngblood moved to amend her complaint within 21 days after service of a Rule 12(b)(6)

motion to dismiss. Accordingly, Youngblood was entitled to amend as a matter of right.

Youngblood’s motion for leave to amend (Doc. No. 7) is GRANTED, and defendants’ motion to

dismiss (Doc. No. 4) and Youngblood’s motion to certify the class based on the original

complaint (Doc. No. 6) are DENIED WITHOUT PREJUDICE.

       However, in light of the fact that defendants opposed the motion to amend on futility

grounds, the Court shall permit defendants leave until April 27, 2018 to file a motion to dismiss

the amended complaint. Should any part of the amended complaint survive defendants’ renewed

Rule 12(b)(6) motion, or should defendants elect not to seek dismissal, the Court shall schedule




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this matter for a case management conference, at which time the parties may discuss a briefing

schedule for a renewed motion to certify the class.

       IT IS SO ORDERED.



Dated: April 16, 2018
                                              HONORABLE SARA LIOI
                                              UNITED STATES DISTRICT JUDGE




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